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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 MYA BATTON, AARON BOLTON,
 MICHAEL BRACE, DO YEON IRENE KIM,
 ANNA JAMES, JAMES MULLIS,
 THEODORE BISBICOS, and DANIEL
 PARSONS, individually and on behalf of all
 others similarly situated,

                    Plaintiffs,

         v.                                            Case No. 1:21-cv-00430

 THE NATIONAL ASSOCIATION OF                           Judge LaShonda A. Hunt
 REALTORS, ANYWHERE REAL ESTATE,
 INC. FORMERLY KNOWN AS REALOGY                        Magistrate Judge M. David Weisman
 HOLDINGS CORP., RE/MAX, LLC, and
 KELLER WILLIAMS REALTY, INC.,

                    Defendants.



               JOINT INITIAL STATUS REPORT FOR REASSIGNED CASE

I.       Nature of the Case

         A. Identify the attorneys of record for each party.

                                               Plaintiffs
          Randall Ewing
          George Zelcs
          Ryan Cortazar
          Michael Klenov
          Carol O’Keefe
          Vincent Briganti
          Christian Levis
          Claire Noelle Forde

                                  The National Association of Realtors
          Ethan Glass
          Deepti Bansal
          Georgina Inglis
          Samantha Strauss
          Beatriz Mejia
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     Elizabeth Wright
     Michael Bonanno

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     Stacey Anne Mahoney
     Kenneth Michael Kliebard
     William T. McEnroe
     William S.D. Cravens
     Heather Jean Nelson
     Jason Leland Chrestionson

                                     RE/MAX LLC
     Eddie Hasdoo
     Jeffrey LeVee

                              Keller Williams Realty, Inc.
     Timothy Ray
     David Kully
     Anna Hayes
     Boris Bershteyn



    B. State the basis for federal jurisdiction.

               Plaintiffs’ Position: Plaintiffs allege that this Court has subject matter
       jurisdiction under 28 U.S.C. §1332(d)(2), because the classes contain more than 100
       persons, the aggregate amount in controversy exceeds $5,000,000, and at least one
       member of each class is a citizen of a State different from Defendant.

               Plaintiffs allege that this Court has personal jurisdiction over Defendant The
       National Association of Realtors (“NAR”) because it is incorporated in Illinois.
       Plaintiffs allege that this Court has personal jurisdiction over Defendants RE/MAX,
       LLC (“RE/MAX”), Anywhere Real Estate Inc. (“Anywhere”), and Keller Williams
       Realty, Inc. (“Keller Williams”) because (1) they waived any challenge to personal
       jurisdiction and (2) because they have franchisees and/or agents in Illinois for which
       they enter into contractual arrangements requiring those franchisees and agents to
       implement the alleged anticompetitive agreements at issue in this lawsuit.

               Defendants’ Position: Defendants RE/MAX, LLC (“RMLLC”), Anywhere
       Real Estate Inc. (“Anywhere”), and Keller Williams Realty, Inc. (“Keller Williams”)
       (collectively, the “Non-NAR Defendants”) have filed motions to dismiss for lack of
       personal jurisdiction that are fully briefed and currently pending before the Court. See
       Dkts. 129, 137, 139, 157, 163. The Non-NAR Defendants maintain that there is no
       personal jurisdiction over them in the Northern District of Illinois, as explained in the
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       briefs and as supported by the decision issued by Judge Wood on February 20, 2024,
       that dismissed another Defendant for lack of personal jurisdiction. See Dkt. 125.

               NAR, which is headquartered in Chicago, has not brought a motion to dismiss
       for lack of personal jurisdiction.

    C. Briefly describe the nature of the claims asserted in the complaint and the
       counterclaims and/or third-party claims and/or affirmative defenses.

               Plaintiffs’ Position: Plaintiffs assert that Defendants entered into
       anticompetitive agreements in violation of the laws of numerous states to the detriment
       of homebuyers. Specifically, Plaintiffs allege that NAR and the broker defendants
       agreed to a set of rules to restrain competition in the market for buyer-agent broker
       services, including, but not limited to, requiring home-sellers to offer a uniform
       commission for buyer-agent services, permitting buyer-agents to sort and filter home
       based on the amount or existence of buyer-agent commissions, permitting buyer-
       agents to steer homebuyers to properties offering more favorable commission terms
       for the buyer-agent, allowing buyer-agents to misrepresent their services as “free,”
       and prohibiting the negotiation of buyer-agent compensation. Plaintiffs allege that
       these anticompetitive practices harmed homebuyers because they increased the
       purchase price for homes and/or caused them to pay more than they otherwise would
       have for a comparable house. Plaintiffs’ counsel have brought similar claims against
       other Defendants, including: Batton et al. v. Compass, Inc. et al., 21-cv-430 (N.D. Ill.)
       (“Batton II”); Davis v. Hanna Holdings, Inc., 2:24-cv-02374 (E.D. Pa.) (“Davis”); and
       Lutz v. HomeServices of America, Inc., et al., 4:24-cv-10040 (S.D. Fla.) (“Lutz”).

               Plaintiffs challenge substantially the same set of rules and practices that were
       challenged in cases brought by home-sellers: Burnett, et al. v. The Nat’l Assn. of
       Realtors, et al., 19-cv-332 (W.D. Mo.) (“Burnett”); Moehrl, et al. v. The Nat’l Assn.
       of Realtors, et al., 19-cv-1610 (N.D. Ill.) (“Moehrl”); Nosalek, et al v. MLS Property
       Information Network, et al., 20-cv-12244 (D. Mass.) (“Nosalek”); and Gibson, et al.
       v. The Nat’l Assn. of Realtors, et al., 4:23-cv-00788 (W.D. Mo.) (“Gibson”). All
       Defendants in this case were parties to Burnett and Moehrl, and nationwide
       settlements in those cases were recently preliminary approved or, with respect to some
       Defendants, finally approved. Plaintiff Mullis lodged an objection in connection with
       those approvals concerning the interpretation of the release included therein, and
       Mullis’ objection remains pending in the United States Court of Appeals for the Eighth
       Circuit. Regardless of the outcome of Plaintiff Mullis’ appeal, the releases in those
       settlements will not release the claims asserted herein for those who never sold a home
       or who opt out of the settlements.

               Defendants’ Position: Defendants dispute Plaintiffs’ claims and allegations
       in their entirety. More specifically, Defendants deny that they engaged in any
       unlawful practice, that there is a certifiable class, that home buyers were injured by
       the alleged conduct or suffered any damages, and that Plaintiffs have standing to bring
       their purported antitrust claims. Defendants further assert that a large portion of the
       putative class released all potential claims through the nationwide settlements that
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             were reached in previously filed litigation and for which final approval was granted
             on May 9, 2024 by a federal district court judge over objection on behalf of a named
             Plaintiff in this case. See Sitzer et al v. National Association of Realtors et al, Case
             No. 4:19-cv-00332 (W.D. Mo.) at Dkt. 1487.

          D. Describe the relief sought by the plaintiff(s) and provide an estimate of damages,
             if any.

                     Plaintiffs’ Position: Plaintiffs seek monetary damages under state law. The
             amount of damages will be subject to extensive expert discovery and testimony, but
             Plaintiffs estimate that damages for the alleged class or classes exceed $1 billion.

                    Defendants’ Position: Defendants dispute Plaintiffs’ claims and further
             dispute that Plaintiffs have been injured or incurred damages as a result of any
             unlawful conduct by Defendants.

          E. List the names of any parties who have not yet been served.

                     All parties have been served.

II.       Discovery and Pending Motions

          A. Briefly describe all pending motions, including the date the motion was filed and the
             briefing schedule, if any.

                     The Parties’ Joint Motion for a Partial Stay of Proceedings (Dkt. 162) as to
             Plaintiffs James Mullis, Mya Batton, and Theodore Bisbicos was filed on June 18,
             2024 and remains pending. The motion requests a stay of proceedings with respect to
             those plaintiffs pending Mullis’ appeal of the final approval of class action settlements
             reached with Defendants in the home-seller case, Burnett, which Defendants argue
             released all claims asserted in this case by certain class members, including named
             Plaintiffs Mullis, Batton, and Bisbicos.

                     The Parties’ Joint Motion for Entry of an Agreed Order Regarding Production
             of ESI (Dkt. 167) was filed July 15, 2024 and remains pending.

                    Keller Williams’, Anywhere’s, and RMLLC’s Motions to Dismiss for lack of
             personal jurisdiction (Dkts. 129, 137, and 139) were filed June 8, 2024 and remain
             pending. The motions were fully briefed as of July 1, 2024 (Dkts. 130, 138, 139-1,
             157, and 163).

          B. What is the current discovery schedule?

                    The Court entered an agreed upon and jointly submitted discovery schedule
             (Dkt. 155) with the following deadlines:
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                             Item                                 Deadline
         Substantial completion of document              December 20, 2024
         productions responsive to RFPs


         Plaintiffs to file their motion for class       June 20, 2025
         certification and class certification expert
         reports

         Defendants to file their responses to           September 19, 2025
         Plaintiffs’ motion for class certification,
         class certification expert reports, and
         Daubert motions directed to Plaintiffs’
         class certification experts

         Plaintiffs to file their reply in support of    November 19, 2025
         class certification and supporting rebuttal
         expert reports, responses to Defendants’
         Daubert motions directed towards
         Plaintiffs’ class certification experts, and
         Daubert motions directed towards
         Defendants’ class certification experts

         Defendants to file replies in support of        January 19, 2026
         their Daubert motions directed towards
         Plaintiffs’ class certification experts and
         responses to Plaintiffs’ Daubert motions
         directed towards Defendants’ class
         certification experts

         Plaintiffs’ replies in support of their class   February 19, 2026
         certification Daubert motions


         Completion of Fact Discovery                    May 2, 2026




    C. Briefly describe all fact and expert discovery that the parties have conducted,
       including any electronic discovery. Describe any discovery that the parties still
       need to complete and indicate whether the parties anticipate completing
       discovery by the current deadline.

              Plaintiffs have served Requests for Production for all documents produced or
       received by Defendants in numerous previously filed litigations brought on behalf of
       home-sellers.
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               Defendants RMLLC, NAR, and Keller Williams have agreed to re-produce
       their custodial document collection from these litigations to the extent they were a
       party in exchange for Plaintiffs agreeing not to serve additional Requests for
       Production until they have reviewed those productions and that any future requests for
       production of documents will be narrowly tailored to fill in gaps through limited,
       targeted discovery requests that are necessary to litigate Plaintiffs’ claims and take
       into account prior productions. Plaintiffs and Anywhere have agreed that Anywhere
       will produce all trial exhibits, exhibits proposed for trial in final exhibit lists, summary
       judgment exhibits, and deposition exhibits that bear Anywhere or Realogy Bates
       numbers from those litigations, and Plaintiffs have agreed not to serve additional
       Requests for Production until they have reviewed those productions.

               Defendants have provided their agreed-upon productions and Plaintiffs have
       begun their review. Plaintiffs recently asked for additional materials to be produced
       from those litigations. The Parties continue to meet and confer concerning Plaintiffs’
       demand for Defendants to produce those additional materials, i.e., the deposition
       transcripts, expert reports, and structured data that was created or produced in Burnett,
       Moehrl, and Nosalek. At this time, the Parties anticipate completing discovery by the
       current deadline.

    D. Briefly summarize all substantive rulings issued in the case. (For each ruling,
       include the date and the docket number.)

                On May 2, 2022 (Dkt. 81), the Court granted Defendants’ Motion to Dismiss
       Plaintiffs’ complaint, finding that Plaintiffs, as homebuyers, did not have standing to
       pursue federal antitrust claims for monetary damages under the Supreme Court’s
       Illinois Brick jurisprudence. The Court also held that Plaintiffs did not have standing
       to pursue injunctive relief for violations of federal antitrust law, concluding that home-
       sellers were best suited to pursue that relief and were pursuing it in Burnett and
       Moehrl. Plaintiffs thereafter filed an amended complaint asserting state-law antitrust,
       consumer protection, and unjust enrichment claims.

                On February 20, 2024 (Dkt. 125), the Court granted in part and denied in part
       Defendants’ Motions to Dismiss Plaintiffs’ claims. The Court held that Plaintiffs have
       standing to pursue claims for states beyond those in which they purchased homes. The
       Court held that Plaintiffs pleaded a not implausible market. The Court held that
       Plaintiffs properly pleaded claims within the statute of limitations and a basis for
       tolling the statute of limitations. The Court also held that Plaintiffs sufficiently pleaded
       proximate causation. Plaintiffs voluntarily dismissed their Tennessee antitrust and
       consumer protection claims, and the Court held that Plaintiffs are permitted to bring a
       standalone Tennessee unjust enrichment claim. The Court held that Plaintiffs
       sufficiently stated a claim for violation of North Carolina’s unfair and deceptive trade
       practices statute. The Court dismissed Plaintiffs’ claim under the Kansas Consumer
       Protection Act for failing to plead that Plaintiffs themselves received a
       misrepresentation. The Court dismissed Plaintiffs’ Sherman Act Section 1 claims for
       injunctive relief. The Court held that Plaintiffs stated an unjust enrichment claim. The
       Court held that it lacked personal jurisdiction against Defendant HomeServices based
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              on a conspiracy theory of jurisdiction and its service on some NAR boards and
              committees.

           E. Briefly describe any anticipated motions, including whether any party intends to
              move for summary judgment. Please note that a dispositive motion schedule will
              typically not be set until all discovery is complete.

                      Plaintiffs’ Position: Plaintiffs anticipate filing a motion for leave to amend
              the Complaint soon to add additional plaintiffs and alleged class representatives.
              Plaintiffs will provide a redline of the proposed amendments to Defendants in advance
              of filing the motion for leave to amend in order to ascertain their position. Plaintiffs
              believe this amendment does not moot the currently pending motions to dismiss for
              lack of personal jurisdiction or necessitate any changes to the existing case schedule.
              Plaintiffs’ counsel have amended their complaint in Davis to add the same plaintiffs.
              Plaintiffs intend to amend their complaints in Batton II and Lutz to the same effect and
              to better coordinate discovery across the pending cases. Once that is resolved,
              Plaintiffs intend to propose, and move the Court for entry of, a coordination order to
              maximize discovery efficiency across the set of related cases.

                      Plaintiffs will file a motion to certify a class or classes at the appropriate time.
              Plaintiffs have not yet determined if they will file a motion for summary judgment.

                      Defendants’ Position: If necessary, Defendants plan to oppose class
              certification and file motion(s) for summary judgment.

                      At this time, Defendants take no position on Plaintiffs’ other anticipated
              motions, which have not been shared with Defendants or otherwise explained by
              Plaintiffs. In an Initial Scheduling Conference Report filed on August 7, 2024,
              Plaintiff Lutz advised the Court (S.D. Fla.) that he intended to amend the complaint
              to add plaintiffs and proposed a deadline of March 17, 2025 “to amend pleadings or
              join additional parties.” It is not clear to Defendants how compliance with the Lutz
              proposed deadline or Plaintiffs’ proposal to amend again in this case at some unknown
              date would facilitate better coordination of discovery across the pending cases.

III.       Trial

           A. Have any of the parties demanded a jury trial?

                      Plaintiffs have demanded a jury trial.

           B. What is the trial date (if any)? If there is no trial date, when will the parties be
              ready for trial?

                      The Court has not yet set a trial date.

           C. Have the parties filed a final pretrial order? If so, when? If not, when is the
              deadline for the filing?
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                     The Parties have not yet filed a final pretrial order and the Court has not yet
             set a deadline for filing a final pretrial order.

          D. Estimate the number of trial days.

                    Plaintiffs’ Position: Plaintiffs estimate that trial will require 15-20 days.

                     Defendants’ Position: It is premature for the Court to set a trial date or length
             because there are numerous events that will impact the scope of trial and parties to
             such trial which have not yet occurred, including decisions on pending motions to
             dismiss, class certification, and summary judgment.

IV.       Settlement, Referrals, and Consent

          A. Have any settlement discussions taken place? If so, what is the status?

                    Settlement discussions between Plaintiffs and one Defendant have occurred.
             No other settlement discussions have taken place.

          B. Has this case been referred to the Magistrate Judge for discovery supervision
             and/or a settlement conference?

                    This case has not been referred to the Magistrate Judge for discovery
             supervision or a settlement conference.

          C. Do the parties request a settlement conference at this time before this Court or
             the Magistrate Judge?

                    No, the Parties do not request a settlement conference at this time.

          D. Have counsel informed their respective clients about the possibility of proceeding
             before the assigned Magistrate Judge for all purposes, including trial and entry
             of final judgment? Do all parties unanimously consent to that procedure?

                     The parties have informed their respective clients about the possibility of
             proceeding before the assigned Magistrate Judge for all purposes, including trial and
             entry of final judgment, and they do not unanimously consent to that procedure.

V.        Other

          A. Is there anything else that the plaintiff(s) wants the Court to know?

                    No.

          B. Is there anything else that the defendant(s) wants the Court to know?

                    Not at this time.
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Class

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2024, I caused a true and correct copy of the

foregoing to be served upon counsel of record as of this date by electronic filing.


Dated: September 25, 2024                                    /s/ Randall P. Ewing, Jr.
                                                             Randall P. Ewing, Jr.
